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   FCHR No.: 202336801
   HUD No.: 04-23-4035-8

   Gerald Hamilton                                       COMPLAINANTS
   Elizabeth Hamilton

   v.

   MEB Real Estate Management, Inc.                      RESPONDENTS
   Salt Springs Village, LLC
   Roger St. Martin
   Carol St. Martin

                                       DETERMINATION (CAUSE)

   I. Jurisdiction

   A complaint was filed with the Florida Commission on Human Relations on July 7, 2022, alleging
   that the Complainants were injured by a discriminatory act. It is alleged that the Respondents were
   responsible for Discriminatory refusal to rent; Otherwise deny or make housing unavailable and
   Discriminatory terms, conditions, privileges, or services and facilities. It is alleged that the
   Respondents’ acts were based on Race. The most recent act is alleged to have occurred on August
   08, 2021. The property is a lot at “Salt Springs Village,” located at 25271 NE 137th Place Lot C15
   Salt Springs, FL 32134, which is owned by Respondent Salt Springs Village, LLC and managed
   by Respondent MEB Real Estate Management, Inc. The Complainants identified Respondents
   Roger St. Martin and Carol St. Martin as the Sales Agents. The property in question is not exempt
   under the applicable statutes. If proven, the allegations would constitute a violation of Sections
   804(a) and 804(b) of Title VIII of the Civil Rights Act of 1968 as amended by the Fair Housing
   Act of 1988. Additionally, if proven, the allegations would constitute a violation of the Florida
   Fair Housing Act—specifically, Sections 760.23(1) and 760.23(2), Florida Statutes.

   The Respondents receive no federal funding.

   The last date of harm was August 8, 2021. An inquiry was filed with HUD on July 7, 2022. Rule 60Y-
   7.001(6), F.A.C., allows for the amendment of a complaint to cure technical defects, or omissions, including

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  verification, which relate back to the date the complaint was first received. The amended complaint
  received on December 09, 2022, related back to July 7, 2022 and was timely filed.

  II. Allegations by Complainants

  In the complaint, Complainants alleged the following:

         Complainants Elizabeth and Gerald Hamilton identified themselves as persons of
         the Black/African American race. Therefore, the Complainants belong to a class of
         persons whom the Fair Housing Act (“the Act”) protects from unlawful
         discrimination by virtue of race. The Complainants attempted to rent a lot at “Salt
         Springs Village,” located at 25271 NE 137th Place Lot C15 Salt Springs, FL 32134,
         which is owned by Respondent Salt Springs Village, LLC and managed by
         Respondent MEB Real Estate Management, Inc. The Complainants identified
         Respondent Roger St. Martin and Respondent Carol St. Martin as the Sales Agents.

         The Complainants alleged that on or around July 5, 2021, they visited the
         community to view the lot for rental and filled out an application at the subject
         property. The Complainants alleged that on July 6, 2021, they returned to the
         subject property and were greeted by Respondents Carol and Roger St Martin. The
         Complainants alleged they received a rent disclosure statement that reflected the
         full intentions of the Respondents to welcome them into the community. The
         Complainants alleged the statement provided information on lot number, monthly
         rental fees, and instructions for making payment. However, it was missing
         information about the credit score. The Complainants alleged on July 27, 2021,
         Respondent Roger St. Martin informed them that their application was being denied
         and that an official denial letter would be coming soon. The Complainants alleged
         that Respondent Roger St. Martin informed them, without clarity, that something
         was off with their credit score. The Complainants alleged they were confused
         because their credit score was high enough to qualify. The Complainants alleged
         that on August 8, 2021, they received the official denied letter dated July 15, 2021,
         from the Respondent MEB Real Estate Management, Inc. and Respondent Salt
         Springs Village, LLC, which stated they decided not to enter into a land lease
         agreement with the Complainant because of information on the consumer report.
         The Complainants alleged that while visiting the community, the Respondents had
         pictures of the current tenants posted on the wall, revealing that there were no
         persons of color living in the community. The Complainants further alleged the
         community Facebook website additionally proved there were no persons of color
         in the community. The Complainant believes the Respondents denied them the
         opportunity to rent the lot at the subject property because of their race. The
         Complainant further believes that if they were persons of the white race, the
         Respondents would have approved their rental application as they were qualified.

         As such, the Complainants believe the Respondents have subjected them to
         discriminatory terms and conditions, discriminatory refusal to rent, and otherwise
         denied or made housing unavailable based on race.
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  III. Summary of Defenses by Respondents

  Respondents deny all allegations made by the Complainants. Specifically, Respondents assert the
  following:

  Respondents state that Salt Springs Village is a 55+ mobile home community that owns the real
  property and offers mobile home lots for lease, owned by Salt Springs Village LLC as a Limited
  Liability Company, and managed by MEB Real Estate Management Inc. Respondents assert that
  on July 6, 2021, the Complainants applied for residency at Salt Springs Village Mobile Home
  Community (the “Community”), and met with the Community managers, Roger and Carol St
  Martin, who provided them with standard information about the Community's rates. Respondent
  St Martins facilitated the application process by forwarding the Complainants' application to Mark
  Butler of MEB Real Estate Management Inc. for processing. Respondents clarify that the
  application did not contain any demographic information about the Complainants' race, and
  Respondent Butler, who conducted the background check, had no prior knowledge of the
  Complainants' ethnicity. The decision to deny the application was based solely on the
  Complainants' financial and rental history. The Community maintains a standard policy requiring
  a combined credit score of 620 or better for residency approval. The Complainants' combined
  credit score was 598.5, which fell below this threshold. Additionally, Respondents received an
  unfavorable review from the Complainants’ current landlord, who reported issues with property
  maintenance and a decision not to renew the Complainants' tenancy. Respondents emphasize that
  race played no role in the decision to deny the Complainants' application. The denial was strictly
  due to the credit score and the negative reference from the landlord.

  Respondents also address the Complainants' concerns about the lack of diversity in the
  Community. Respondents assert that currently, there are no African American individuals in the
  Community, but this is not due to any discrimination, there has only been one other African
  American who came to look at the Community, did not like the home she viewed, and did not
  apply for residency. Respondents assert that they deny the allegations of preventing people of color
  from becoming members and assert that there has just been a low demand for housing in the
  Community from this class of people.

  IV. Findings and Conclusions

  760.23(1) Refusal to Sell or Rent/ Otherwise Deny or Make Housing Unavailable

  In order to conclude there is reasonable cause to believe a violation of Section 760.23(1), Florida
  Statutes, has occurred, all of the elements of the case must be met. First, Complainant must belong
  to a class of persons whom the Florida Fair Housing Act protects from unlawful discrimination.
  Second, Complainant must have made a bona fide offer to Respondent. Third, Complainant must
  have been qualified, ready, willing, and able to buy or rent consistent with the terms and conditions
  of Respondent at the time of the alleged act of discrimination. Fourth, Respondent must have
  refused to sell or rent to Complainant. Fifth, after Respondent refused to sell or rent to
  Complainant, Respondent must have sold or rented to a less qualified person from a comparable
  class of persons.
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  Regarding the elements of this case, the investigation revealed the following:

  1. Do Complainants belong to a class of persons whom the Florida Fair Housing Act protects from
  unlawful discrimination?

  Yes. Complainants Elizabeth and Gerald Hamilton identified themselves as persons of the
  Black/African American race. Therefore, by virtue of race, Complainants belong to a class of
  persons whom the Fair Housing Act (“the Act”) protects from unlawful discrimination.

  The investigation determined that Respondents had knowledge of Complainants’ protected class
  through the rental application process. Specifically, Complainants’ rental application included
  their photo identifications, which were part of the application package evaluated by Respondents.
  The investigation was able to confirm that on July 6, 2021, Complainants also had a personal
  interaction with Respondents Roger and Carol St. Martin, the Community and Sales Managers, at
  the Salt Springs Village leasing office.

  2. Did Complainants make a bona fide offer to Respondents?

  Yes. The investigation established that Complainants made a bona fide offer to Respondents to
  rent lot C15 located at 25271 NE 137th Place, Salt Springs, FL 32134. Complainants submitted
  their application on July 13, 2021, accompanied by photocopies of each applicant’s photo ID.

  3. Were Complainants qualified, ready, willing, and able to rent consistent with the terms and
  conditions of Respondents at the time of the alleged act of discrimination?

  No - Based on Respondents’ Written Requirements:

  The investigation found that Respondents have the following Salt Springs Village MHP Approval
  Guidelines:

  1) A fully completed application for residency must be submitted to and approved by the
  management
  of the community prior to residency.

  2) The management office will obtain a complete credit report. Credit scores must be over 620 or
  better. All bankruptcies must be discharged, and a copy of the discharge must be supplied.

  3) All sources of income must be verified. As a minimum, income must be verified at three (3)
  times the current monthly rental fee. Co-applicants will be considered as joint income sources for
  the above. W-2s or tax returns from past two (2) years, and most recent pay stubs and/or bank
  statements from past six (6) months are accepted.

  4) A verification of age must be supplied. The first resident must be age 55 or older, and the second
  resident must be age 45 or older. In accordance with the Federal Fair Housing Act, we will require
  one of the following documents for each occupant:
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        i) Driver’s License, State Issued Identification Card, or Passport
        ii) Military Identification
        iii) Birth Certificate
        iv) Any other state, local or national official document containing a birth date of comparable
        reliability.
        v) A certification in a lease, application, affidavit or other document signed by a member of
        the household age 18 or older asserting that at least one person in the unit is 55 years of age
        or older.

  5) A conviction of a felonious crime or a crime involving dishonest or false statements may be
  grounds for denial of the application.

  6) Acceptable rental history. A previous foreclosure or eviction may be grounds for denial of the
  applicant.

  Respondents maintain a policy requiring a combined credit score of 620 or higher for application
  approval. According to Complainants' screening report, prepared by the consumer reporting
  agency, VeriFirst Background Screening, for Respondent MEB Real Estate Management on July
  14, 2021, Elizabeth Hamilton had a credit score of 641, while Gerald Hamilton had a credit score
  of 556, the combined credit score was 598.5. As such, Complainants’ combined credit score of
  598.5 was insufficient to meet Respondents’ rental requirements.

  The investigation revealed that Respondents also denied Complainants’ application due to an
  unfavorable review from Complainants’ landlord. The email dated July 14, 2021, from Barbara
  Hemingway, Star Agent, Licensed Realtor, LCAM, to Salt Springs Village and Mark Butler
  informs,

   “This application has been declined. Mr. Hamilton does not meet our minimum requirements, and
  their current landlord has terminated their tenancy. He didn't give me a reason, nor according to
  him did he give one to them. He had to increase the rent by $50.00 about 6 months ago to cover
  him taking care of the lawn because it was not being taken care of to his liking. He stated that he
  would not re-rent to them”.

  Thus, Respondents considered Complainants unqualified based on Respondents' requirements
  regarding credit scores and rental history.

  Yes - Based on Respondents' Practices

  Although Complainants’ application was denied, the analysis of the obtained records revealed that,
  in practice, Respondents did not consistently apply the same requirements to other applicants. The
  investigation found that Respondents inconsistently applied their credit score requirement.
  Complainants were denied primarily due to an insufficient combined credit score of 598.5, which
  was below the 620 threshold. However, the documentation showed that there was another
  Caucasian applicant who was approved in April 2021 despite having a lower credit score of 592
  compared to Complainants.
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  Moreover, the investigation revealed that Respondents used different credit reporting agencies for
  different applicants: while the majority of applicants were screened by VeriFirst Background
  Screening, some applicants had their credit reports prepared by Experian Credit Report.
  Respondents failed to provide the rationale for utilizing two different consumer reporting agencies
  for the screening of their applicants.

  According to the Salt Springs Village Mobile Home Park MHP Approval Guidelines, an
  applicant's rental history must be verified as part of the background screening. Specifically, the
  guidelines state that an acceptable rental history is required, and a previous foreclosure or eviction
  may be grounds for denial of the applicant. The investigation revealed that Complainants had no
  history of eviction or foreclosure, as confirmed by their Screening Report provided by VeriFirst
  Background Screening, LLC, which indicated no issues with Complainants' rental history.
  Moreover, although Respondents cited Complainants' negative landlord reference as a reason for
  their denial, the Approval Guidelines do not list a reference from a current or former landlord as a
  required criterion for evaluating applicant’s eligibility.

  Therefore, based on the practical application of Respondents’ rental requirements, Complainants
  were qualified and should have been considered ready and able to rent, just as other applicants,
  consistent with the terms and conditions of Respondents.

  4. Did Respondents refuse to sell or rent to Complainants?

  Yes. The investigation confirmed that Respondents refused to rent to Complainants. The
  investigation found that denial letters dated July 15, 2021, informed Complainants that their
  application for a land lease agreement at Salt Springs Village had been declined. This decision was
  influenced by a consumer report obtained during the tenant application process. The letters also
  advised that the rejection was based entirely or partly on information from a consumer report
  provided by VeriFirst Background Screening, LLC. The consumer reporting agency did not make
  the lease decision but provided the report used by MEB Real Estate Management to evaluate the
  application.

  Additionally, the investigation further revealed that Complainants were never informed about the
  second denial factor as the negative reference from their landlord.

  5. After Respondents refused to sell or rent to Complainants, did Respondents sell or rent to a less
  qualified person from a comparable class of persons?

  Yes, the investigation determined that after Respondents refused to rent a lot to Complainants,
  Respondents rented to a less qualified person from a comparable class of persons. The records
  obtained for the investigation, twenty-four (24) applications for purchase, indicated that all
  prospective applicants who applied from February through December 2021 underwent the same
  application approval process and were subject to the same documentation requirements. However,
  the investigation determined that the criteria for evaluating applicants have been applied
  inconsistently.

  Complainants were denied due to an insufficient combined credit score of 598.5, which was below
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  the required threshold of 620. However, the analysis of obtained records showed that Marvin
  Johnson, a Caucasian applicant, was approved in April 2021 despite having a lower credit score
  of 592 compared to Complainants. Moreover, the investigation revealed that Respondents used
  different credit reporting agencies for Marvin Johnson’s background check: first, on April 17,
  2021, Marvin D. Johnson’s screening report was prepared by VeriFirst Background Screening
  reflecting a FICO score of 592, whereas on April 20, 2021, his subsequent screening by Experian
  Credit Report reflected a FICO score of 625.

  Additionally, the documentation showed that while the majority of applicants were screened by
  VeriFirst Background Screening, some applicants had their credit reports prepared by Experian
  Credit Report. Specifically, out of 24 Tenant Screening Reports, 17 reports were provided by
  VeriFirst Background Screening, and 3 reports were prepared by Experian Credit Report, while
  the screening details of 4 applicants remain undetermined due to their Tenant Screening Reports
  were not provided by Respondents. Respondents did not provide the rationale for utilizing two
  different consumer reporting agencies in the applicant screening process.

  The investigation revealed that Respondents also denied Complainants’ application due to an
  unfavorable review from Complainants’ landlord, who reported issues with property maintenance
  and a decision not to renew Complainants' tenancy. Pursuant to the Salt Springs Village Mobile
  Home Park Approval Guidelines, verification of an applicant's rental history forms part of the
  background screening process. Specifically, the Approval Guidelines stipulate that an applicant
  must demonstrate an acceptable rental history, with any record of foreclosure or eviction
  constituting potential grounds for denial. The investigation found that Complainants possessed no
  history of eviction or foreclosure. Furthermore, while Respondents cited unfavorable reference
  from Complainants’ landlord as a basis for denial, the Approval Guidelines do not enumerate a
  reference from a current or former landlord as a required criterion for determining applicant
  eligibility.

  In the email correspondence to the investigation on March 7, 2023, Respondents made the
  following statement, “We have not denied anyone in 2021 except for the Hamiltons, because their
  landlord said they refused to maintain the property. They are the only ones who came from a rental
  situation to buy in here. Everyone else sold a home to come into the park or buying as a second
  home.”

  Thus, according to Respondents’ statement, Complainants were the only applicants in 2021 whose
  application involved a rental background rather than homeownership. All other applicants that year
  were homeowners making landlord references inapplicable as a requirement in their approval
  process.

  In response to the investigation, Respondents provided twenty-four (24) copies of applications.
  Each application included a copy of a government-issued ID, predominantly a driver’s license.
  The analysis of the records showed that all applicants, except Complainants, were identified as
  Caucasian. The investigation further established that Complainants were the only applicants denied
  residency in 2021. Moreover, during an interview on November 11, 2024, one of the current
  residents of the community, who identified herself as Caucasian, stated that since she moved to
  the community in 2018, she had not seen any persons or residents of color, specifically African
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  American or Black individuals, residing in the community.

  Although the records obtained for the investigation indicated that all applicants who applied from
  February through December 2021 underwent the same application approval process and were
  subject to the same documentation requirements, the investigation determined that the criteria for
  evaluating applicants have not been applied consistently. Respondent, with knowledge of
  Complainants’ protected class, refused to rent to Complainants and rented to a less qualified person
  from a comparable class of persons.

  Therefore, based on the foregoing, the Commission finds that there is reasonable cause to believe
  that a discriminatory housing practice occurred in violation of Section 760.23(2), Florida Statutes.

  760.23(2) Sale or Rental – Terms and Conditions

  In order to conclude there is reasonable cause to believe a violation of Section 760.23(2),
  Florida Statutes, based on Race, has occurred, all the elements of the case must be met.

  First, the investigation of this case must show that Complainant belongs to a class of persons whom
  the Florida Fair Housing Act protects from unlawful discrimination because of race, color, national
  origin, sex, disability, familial status, or religion. Second, Complainant must have attempted to
  offer to buy or rent, or to continue to occupy the dwelling consistent with the terms and conditions
  for buying, renting, or continued occupancy that were offered by Respondent. Third, Complainant
  must have been qualified, ready, willing, and able to buy or rent consistent with the terms and
  conditions offered by Respondent. Fourth, Respondent, with knowledge of Complainant’s
  protected class, must have willfully failed or refused to offer the same terms and conditions for
  selling or renting, or continued occupancy to Complainant as were offered to other persons, and
  Respondent must have offered seemingly more favorable terms and conditions for the purchase,
  sale, rental, or occupancy of the dwelling to one or more persons from a comparable class of
  persons.

  Regarding the elements of this case, the investigation revealed the following:

  1. Do Complainants belong to a class of persons whom the Florida Fair Housing Act protects from
  unlawful discrimination because of race, color, national origin, sex, disability, familial status, or
  religion?

  Yes. Complainants Elizabeth and Gerald Hamilton identified themselves as persons of the
  Black/African American race. Therefore, by virtue of race, Complainants belong to a class of
  persons whom the Fair Housing Act (“the Act”) protects from unlawful discrimination.

  2. Did Complainants attempt to offer to rent the dwelling consistent with the terms and conditions
  for buying, renting, or continued occupancy that were offered by Respondents?

  Yes. The investigation established that Complainants attempted to rent lot C15, located at 25271
  NE 137th Place, Salt Springs, FL 32134. Complainants submitted their application on July 13,
  2021, accompanied by photocopies of each applicant’s photo ID.
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  3. Were Complainants qualified, ready, willing, and able to rent consistent with the terms and
  conditions offered by Respondents?

  No - Based on Respondents’ Written Requirements:

  The investigation found that Respondents have the following Salt Springs Village MHP Approval
  Guidelines:

  1) A fully completed application for residency must be submitted to and approved by the
  management
  of the community prior to residency.

  2) The management office will obtain a complete credit report. Credit scores must be over 620 or
  better. All bankruptcies must be discharged, and a copy of the discharge must be supplied.

  3) All sources of income must be verified. As a minimum, income must be verified at three (3)
  times the current monthly rental fee. Co-applicants will be considered as joint income sources for
  the above. W-2s or tax returns from past two (2) years, and most recent pay stubs and/or bank
  statements from past six (6) months are accepted.

  4) A verification of age must be supplied. The first resident must be age 55 or older, and the second
  resident must be age 45 or older. In accordance with the Federal Fair Housing Act, we will require
  one of the following documents for each occupant:
        i) Driver’s License, State Issued Identification Card, or Passport
        ii) Military Identification
        iii) Birth Certificate
        iv) Any other state, local or national official document containing a birth date of comparable
        reliability.
        v) A certification in a lease, application, affidavit or other document signed by a member of
        the household age 18 or older asserting that at least one person in the unit is 55 years of age
        or older.

  5) A conviction of a felonious crime or a crime involving dishonest or false statements may be
  grounds for denial of the application.

  6) Acceptable rental history. A previous foreclosure or eviction may be grounds for denial of the
  applicant.

  Respondents maintain a policy requiring a combined credit score of 620 or higher for application
  approval. According to Complainants' screening report, prepared by the consumer reporting
  agency, VeriFirst Background Screening, for Respondent MEB Real Estate Management on July
  14, 2021, Elizabeth Hamilton had a credit score of 641, while Gerald Hamilton had a credit score
  of 556, the combined credit score was 598.5. As such, Complainants’ combined credit score of
  598.5 was insufficient to meet Respondents’ rental requirements.

  The investigation revealed that Respondents also denied Complainants’ application due to an
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  unfavorable review from Complainants’ landlord. The email dated July 14, 2021, from Barbara
  Hemingway, Star Agent, Licensed Realtor, LCAM, to Salt Springs Village and Mark Butler
  informs,

   “This application has been declined. Mr. Hamilton does not meet our minimum requirements, and
  their current landlord has terminated their tenancy. He didn't give me a reason, nor according to
  him did he give one to them. He had to increase the rent by $50.00 about 6 months ago to cover
  him taking care of the lawn because it was not being taken care of to his liking. He stated that he
  would not re-rent to them”.

  Thus, Respondents considered Complainants unqualified based on Respondents' requirements
  regarding credit scores and rental history.

  Yes - Based on Respondents' Practices

  Although Complainants’ application was denied, the analysis of the obtained records revealed that,
  in practice, Respondents did not consistently apply the same requirements to other applicants. The
  investigation found that Respondents inconsistently applied their credit score requirement.
  Complainants were denied primarily due to an insufficient combined credit score of 598.5, which
  was below the 620 threshold. However, the documentation showed that there was another
  Caucasian applicant who was approved in April 2021 despite having a lower credit score of 592
  compared to Complainants.

  Moreover, the investigation revealed that Respondents used different credit reporting agencies for
  different applicants: while the majority of applicants were screened by VeriFirst Background
  Screening, some applicants had their credit reports prepared by Experian Credit Report.
  Respondents failed to provide the rationale for utilizing two different consumer reporting agencies
  for the screening of their applicants.

  According to the Salt Springs Village Mobile Home Park MHP Approval Guidelines, an
  applicant's rental history must be verified as part of the background screening. Specifically, the
  guidelines state that an acceptable rental history is required, and a previous foreclosure or eviction
  may be grounds for denial of the applicant. The investigation revealed that Complainants had no
  history of eviction or foreclosure, as confirmed by their Screening Report provided by VeriFirst
  Background Screening, LLC, which indicated no issues with Complainants' rental history.
  Moreover, although Respondents cited Complainants' negative landlord reference as a reason for
  their denial, the Approval Guidelines do not list a reference from a current or former landlord as a
  required criterion for evaluating applicant’s eligibility.

  Therefore, based on the practical application of Respondents’ rental requirements, Complainants
  were qualified and should have been considered ready and able to rent, just as other applicants,
  consistent with the terms and conditions of Respondents.

  4. Did Respondents, with knowledge of Complainants’ protected class, willfully fail or refuse to
  offer the same terms and conditions for renting to Complainants as were offered to other persons,
  and did Respondents offer seemingly more favorable terms and conditions for the rental, or
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  occupancy of the dwelling to one or more persons from a comparable class of persons?

  Yes. The investigation was able to confirm that Respondents, with knowledge of Complainants’
  protected class, offered seemingly more favorable terms and conditions for rental to one or more
  persons from a comparable class of persons.
  The investigation determined that Respondents had knowledge of Complainants’ protected class
  through the rental application process. Specifically, Complainants’ rental application included
  their photo identification, which was part of the application package evaluated by Respondents.
  The investigation was able to confirm that on July 6, 2021, Complainants also had a personal
  interaction with Respondents Roger and Carol St. Martin, the Community and Sales Managers, at
  the Salt Springs Village leasing office.

  The records obtained for the investigation, twenty-three (23) applications for purchase, indicated
  that all prospective applicants who applied from February through December 2021 underwent the
  same application approval process and were subject to the same documentation requirements.
  However, the investigation established that the criteria for evaluating applicants have been applied
  inconsistently.

  Complainants were denied due to an insufficient combined credit score of 598.5, which was below
  the required threshold of 620. However, the analysis of obtained records showed that Marvin
  Johnson, a Caucasian applicant, was approved in April 2021 despite having a lower credit score
  of 592 compared to Complainants. Moreover, the investigation revealed that Respondents used
  different credit reporting agencies for Marvin Johnson’s background check: first, on April 17,
  2021, Marvin D. Johnson’s screening report was prepared by VeriFirst Background Screening
  reflecting a FICO score of 592, whereas on April 20, 2021, his subsequent screening by Experian
  Credit Report reflected a FICO score of 625.

  Additionally, the documentation showed that while the majority of applicants were screened by
  VeriFirst Background Screening, some applicants had their credit reports prepared by Experian
  Credit Report. Specifically, out of 24 Tenant Screening Reports, 17 reports were provided by
  VeriFirst Background Screening, and 3 reports were prepared by Experian Credit Report, while
  the screening details of 4 applicants remain undetermined due to their Tenant Screening Reports
  were not provided by Respondents. Respondents also failed to provide the rationale for utilizing
  two different consumer reporting agencies in the applicant screening process.

  The investigation revealed that Respondents denied Complainants’ application due to an
  unfavorable review from Complainants’ landlord, who reported issues with property maintenance
  and a decision not to renew Complainants' tenancy. Pursuant to the Salt Springs Village Mobile
  Home Park Approval Guidelines, verification of an applicant's rental history forms part of the
  background screening process. Specifically, the guidelines stipulate that an applicant must
  demonstrate an acceptable rental history, with any record of foreclosure or eviction constituting
  potential grounds for denial. The investigation found that Complainants possessed no history of
  eviction or foreclosure. Furthermore, while Respondents cited unfavorable reference from
  Complainants’ landlord as a basis for denial, the Approval Guidelines do not enumerate a reference
  from a current or former landlord as a required criterion for determining applicant eligibility.
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  In the email correspondence to the investigation on March 7, 2023, Respondents made the
  following statement, “We have not denied anyone in 2021 except for the Hamiltons because their
  landlord said they refused to maintain the property. They are the only ones who came from a rental
  situation to buy in here. Everyone else sold a home to come into the park or buying as a second
  home.”
  Thus, according to Respondents’ statement, Complainants were the only applicants in 2021 whose
  application involved a rental background rather than homeownership. All other applicants that year
  were homeowners making landlord references inapplicable as a requirement in their approval
  process.

  In response to the investigation, Respondents provided twenty-four (24) copies of applications.
  Each application included a copy of a government-issued ID, predominantly a driver’s license.
  The analysis of the records showed that all applicants, except Complainants, were identified as
  Caucasian. The investigation further established that Complainants were the only applicants denied
  residency in 2021. Moreover, during an interview on November 11, 2024, one of the current
  residents of the community, who identified herself as Caucasian, stated that since she moved to
  the community in 2018, she had not seen any persons or residents of color, specifically African
  American or Black individuals, residing in the community.

  Although the records obtained for the investigation indicated that all prospective tenants who
  applied for approvals from January through July 2023 underwent the same application approval
  process and were subject to the same documentation requirements, the investigation determined
  that the criteria for evaluating applicants have not been applied consistently. As such, Respondents,
  with knowledge of Complainants’ protected class, willfully fail or refuse to offer the same terms
  and conditions for renting to Complainants as were offered to other persons, and Respondents offer
  seemingly more favorable terms and conditions for the rental, or occupancy of the dwelling to
  other persons outside of Complainants’ protected class.

  Therefore, based on the foregoing, the Commission finds that there is reasonable cause to believe
  that a discriminatory housing practice occurred in violation of Section 760.23(2), Florida Statutes.


  V. Additional Information

  Notwithstanding this determination, the Florida Fair Housing Act provides that the Complainant
  may file a civil action in an appropriate court. According to Section 760.35(1), Florida Statutes,
  such a civil action shall be commenced no later than two years after an alleged discriminatory
  housing practice has occurred.

  Under the Florida Public Records Act, this determination is a public document. A copy of the
  final investigative report can be obtained from:
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  FOR THE FLORIDA COMMISSION ON HUMAN RELATIONS




  _________________________________________               ____________
  Cheyanne Costilla, Executive Director                   Date
